Dear Mr. Brown:
You have requested an Attorney General's opinion on the following issue:
      Must two road foremen running for police jury in the districts that currently employ them resign from employment with the police jury?
There is no statutory prohibition against a parish police jury employee seeking a local or statewide public office while still holding his or her present employment.
However, § 6.09(C) of the Beauregard Parish Police Jury Handbook, mandates, "[a]ny parish employee must take a 90-day leave of absence if they run for political office."
Attorney General Opinion No. 79-600, stated:
      [A]n ordinance stating municipal employees shall not run for public office is not inconsistent with state law or the constitution. In fact, the constitution and state law contains provisions prohibiting classified civil service employees from engaging in political activity.
The same holds true for a parish ordinance. Therefore, assuming Beauregard Police Jury Handbook was formally adopted by ordinance, § 6.09(C) is a valid exercise of authority.
In a recent telephone conversation with our office, your office also requested that we review the legality of certain sections from the Beauregard Parish Police Jury Handbook. Specifically, your concerns involve the sick leave and annual leave policies as they relate to the two candidates discussed above.
Section 6.02 of the Police Jury Handbook addresses sick leave policies for parish employees. Section 6.02(C) states, "[s]ick leave taken in excess of three consecutive work days shall be accompanied with a statement from the employee's doctor confirming sickness." By its very nature, sick leave can only be applied toward leave taken for illness, injury, or sickness. Therefore, in our opinion, applying sick leave towards any leave taken by a parish employee to campaign for public office is prohibited.
However, no such prohibition applies to annual leave taken in this capacity. As long as the procedural guidelines in § 6.03 are followed, a parish employee may properly exercise his or her annual leave options to run for elected office.
I trust this addresses your concerns. Please contact this office if you require further assistance.
Very truly yours,
                                  RICHARD P. IEYOUB ATTORNEY GENERAL
                              BY: Carlos M. Finalet, III Assistant Attorney General
RPI/CMF, III/mjb